                        Case 3:20-cr-00769-DCG Document 2 Filed 02/11/20 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                                                                                             FILED
                                                                                                           02/11/2020
                               WESTERN DISTRICT OF TEXAS, EL PASO DIVISION                          Clerk, U.S. District Court
                                                                                                    Western District of Texas


                                                                                              By:               RRV
                                                                                                                                 Deputy




USA                                                             §
                                                                § CRIMINAL COMPLAINT
vs.                                                             § CASE NUMBER: EP:20-M -00861(1) - MAT
                                                                §
(1) CHRISTHOPHER JASON DARIEM                                   §
CARRANZA-HERNANDEZ


                I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about February 10, 2020 in El Paso county, in the WESTERN DISTRICT OF TEXAS

defendant did, being an alien to the United States, enter, attempt to enter, or was found in the United States after

having been previously excluded, deported, or removed from the United States without receiving permission to reapply

for admission to the United States from the Attorney General of the United States and the Secretary of Homeland

Security, the successor pursuant to Title 6, United States Code, Sections 202(3), 202(4), and 557



in violation of Title              8               United States Code, Section(s)      1326

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts:

"The DEFENDANT, Christhopher Jason Dariem CARRANZA-Hernandez, an alien to the United States and a citizen of

Guatemala was found approximately 1 mile east of the Ysleta Port of Entry in El Paso, Texas in the Western District of

Texas.

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                               Signature of Complainant
                                                                               Rangel, Jorge L
                                                                               Border Patrol Agent

02/11/2020                                                                at   EL PASO, Texas
File Date                                                                      City and State



MIGUEL A. TORRES                                                               ______________________________
UNITED STATES MAGISTRATE JUDGE                                                 Signature of Judicial Officer
                  Case 3:20-cr-00769-DCG Document 2 Filed 02/11/20 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:20-M -00861(1)

WESTERN DISTRICT OF TEXAS

(1) CHRISTHOPHER JASON DARIEM CARRANZA-HERNANDEZ

FACTS   (CONTINUED)

From statements made by the DEFENDANT to the arresting agent, DEFENDANT was determined to be a
native and citizen of Guatemala, without immigration documents allowing him to be or remain in the United
States legally. Defendant has been previously removed from the United States to Guatemala on May 4th,
2018 through Phoenix, AZ. Defendant has not previously received the expressed consent from the Attorney
General of the United States or the Secretary of Homeland Security to reapply for admission into the United
States.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:
The DEFENDANT has been removed 1 time(s), the last one being to GUATEMALA on May 4, 2018, through
PHOENIX, AZ

CRIMINAL HISTORY:
NONE
